Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11820 Page 1 of 20



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                             UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
11 IN RE: INCRETIN MIMETICS                  )   MDL Case No.13md2452 AJB (MDD)
   PRODUCTS LIABILITY                        )
12 LITIGATION                                )   As to all related and member cases
                                             )
13                                           )   1) ORDER GRANTING IN PART
                                             )   AND DENYING IN PART
14                                           )   DEFENDANT NOVO NORDISK,
                                             )   INC.’S MOTION TO DISQUALIFY
15                                           )   DR. FLEMING AS AN EXPERT FOR
                                             )   PLAINTIFFS
16                                           )   (Doc. No. 902)
                                             )
17                                           )   2) ORDER GRANTING IN PART
                                             )   AND DENYING IN PART
18                                           )   DEFENDANTS’ MOTION TO
                                             )   DISQUALIFY DR. FLEMING AS AN
19                                           )   EXPERT FOR PLAINTIFFS
                                             )   (Doc. No. 908)
20                                           )
21
22         Presently before the Court are two motions to disqualify Dr. G. Alexander Fleming
23 as an expert for Plaintiffs. (Doc. Nos. 902, 908.) On March 12, 2015, the motions were
24 taken under submission following oral argument. After consideration of the parties’
25 arguments, the Court GRANTS IN PART and DENIES IN PART both pending
26 motions to disqualify Dr. Fleming and strike his expert report.
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                                                 1                             13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11821 Page 2 of 20



 1 I.      BACKGROUND1
 2         This multi-district litigation involves claims for personal injuries and/or wrongful
 3 death allegedly caused by four types of incretin treatments prescribed for Type 2
 4 diabetes. As part of phased discovery on issues of preemption and general causation, the
 5 parties exchanged expert reports on December 15, 2014. Plaintiffs served Defendants
 6 with the expert report of Dr. G. Alexander Fleming, who was designated as a preemption
 7 expert for Plaintiffs.2 On January 16, 2015, Defendant Novo Nordisk, Inc. (“Novo”)
 8 moved to disqualify Dr. Fleming as an expert for Plaintiffs and strike his expert report.
 9 (Doc. No. 902.) Novo’s motion is predicated on Dr. Fleming’s prior consulting relation-
10 ship with Novo. (Doc. No. 925, p. 4.)3 As an additional ground for disqualification, Novo
11 argues that Dr. Fleming is a competitor as defined by the protective order, and that
12 Plaintiffs improperly disclosed confidential discovery materials to Dr. Fleming without
13 prior notice to Defendants. (Id. p. 23.) The remaining Defendants Merck Sharp & Dohme
14 Corp., Eli Lilly and Company, and Amylin Pharmaceuticals, LLC, also filed a motion to
15 disqualify Dr. Fleming based on Dr. Fleming’s status as a competitor, and the alleged
16 improper disclosure of confidential discovery materials to Dr. Fleming in violation of the
17 protective order. (Doc. No. 908.) Plaintiffs oppose both motions. (Doc. No. 938.)
18         Although Plaintiffs and Novo characterize the nature and import of Dr. Fleming’s
19 consulting relationship with Novo differently, the parties acknowledge that Dr. Fleming
20 served as a consultant to Novo for several years beginning in September 1999. Over the
21
           1
            The relevant facts and each parties’ characterization of those facts are detailed in
22 the parties’ briefing, (Doc. Nos. 908-1, 925, 942), and reiterated in large part in the
   transcript from the oral argument held on March 12, 2015 (Doc. No. 1000). Relevant
23 facts are also stated in Dr. Fleming’s declaration in opposition of disqualification. (Doc.
   No. 937-1.) Accordingly, the facts set forth herein are restated in summary form.
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          2
            Although currently designated as Plaintiffs’ preemption expert, at oral argument
25 counsel for Plaintiffs indicated that Dr. Fleming could also be designated as an expert for
   Plaintiffs on issues of general causation, specific causation, and endocrinology. (Doc. No.
26 1000, p. 6:4-24.)
27         3
           Novo’s moving papers and Plaintiffs’ opposition were each filed under seal on
   the docket. The parties also filed partial or redacted versions of the briefing, which are
28 available publicly on the docket. This accounts for reference to varying docket numbers
   with respect to the same documents.
                                                  2                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11822 Page 3 of 20



 1 course of nearly ten years, Dr. Fleming entered into multiple agreements documenting his
 2 role as a consultant to Novo on a variety of matters. (Doc. No. 925, p. 7-8.) Each
 3 agreement contained confidentiality provisions that precluded Dr. Fleming from disclos-
 4 ing information obtained while working with Novo. (Id. at 9.)4 During his tenure as a
 5 consultant to Novo, Dr. Fleming participated in advisory board meetings, as part of
 6 expert panels, and attended meetings on Novo’s behalf. (Doc. No. 925, p. 9; Doc. No.
 7 942, p. 5-6.) Dr. Fleming consulted with Novo regarding GLP-1 analogues generally, and
 8 on Victoza, one of the drugs at issue in the underlying litigation. (Doc. No. 925, p. 9;
 9 Doc. No. 942, p. 6.)
10         More specifically, Novo contends that during his time as a consultant for Novo Dr.
11 Fleming regularly participated on high-level global advisory boards, viewed presenta-
12 tions, and heard discussions on many topics relevant to this litigation and to the opinions
13 in Dr. Fleming’s expert report. (Doc. No. 925, p. 9-10.) These topics included: clinical
14 development strategy and objectives, analysis of pre-clinical and clinical study findings,
15 evaluation of potential effects on beta-cell growth and proliferation, review of potential
16 safety issues, including pancreatitis and cancer-related findings in rodents, plans for
17 clinical trial and post-marketing study design, and strategy for addressing potential
18 regulatory and labeling issues. (Id.) Novo’s motion summarizes “key meetings” that Dr.
19 Fleming attended while working for Novo. (Id. at 9-11.) Dr. Fleming also assisted Novo
20 with the Investigational New Drug application (“IND”), New Drug Application
21 (“NDA”), and fast-track drug applications for FDA approval of Victoza. (Id. at 11.)
22         Plaintiffs characterize Dr. Fleming’s role differently. Accordingly to Plaintiffs, Dr.
23 Fleming spent only 10-20% of his consulting time with Novo on Victoza specifically.
24 (Doc. No. 942, p. 6.) Plaintiffs also contend that Dr. Fleming was not privy to large
25 amounts of Novo documents or data and did not obtain information relevant to the issues
26 in the underlying case. (Id.) Plaintiffs note that Dr. Fleming’s work for Novo predates the
27
28         4
            The agreements are summarized in detail in Novo’s motion to disqualify, (Doc.
     No. 925, p. 9), and attached to the declaration of Heidi Levine, (Doc. No. 902-1).
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Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11823 Page 4 of 20



 1 issues regarding pancreatic cancer that form the basis of the underlying litigation, and
 2 that Dr. Fleming has not consulted for Novo at all since 2010. (Doc. No. 937, ps. 6, 17.)
 3         As relevant to the instant motions, Dr. Fleming co-founded a company called
 4 Exsulin in 2006. (Id. at 6.) Exsulin is currently developing a peptide-based drug targeted
 5 at regenerating the insulin-producing islets in patients with both Type 1 and Type 2
 6 diabetes. (Doc. No. 925, p. 24-25.) Exsulin currently has a drug, also called Exsulin, in
 7 Phase II clinical trials. (Id.) Dr. Fleming serves as Chairman of Exsulin’s Board of
 8 Directors and as its Chief Medical Officer. (Id.) Prior to forming Exsulin, Dr. Fleming
 9 co-founded Kinexum LLC and currently serves as that company’s President and Chief
10 Executive Officer. Kinexum LLC provides services and expertise supporting the ad-
11 vancement of new healthcare products towards commercialization.5
12         Prior to working as a private consultant, Dr. Fleming worked for the FDA as a
13 Medical Officer in the Division of Metabolism and Endocrine Drug Products. Dr.
14 Fleming also worked as the Supervisory Medical Officer for the FDA beginning in 1989.
15 Dr. Fleming held this position until he retired from the FDA as its senior endocrinologist
16 in 1998. While at the FDA, Dr. Fleming had a variety of responsibilities, including
17 regulation of diabetes and other metabolic drugs, working as the head of clinical review-
18 ers of endocrine and metabolic treatments, and representing the FDA at international
19 initiatives.
20         Dr. Fleming’s expert report includes discussions of the FDA approval process for
21 new drugs, the FDA regulatory history for the incretin mimetics at issue in this litigation,
22 and an overview of the FDA process for label changes by the Changes Being Effected
23 (“CBE”) process. The report also includes drug-specific analyses and discussions of
24 various studies implemented by Defendants.
25 ///
26 ///
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           5
          Facts specific to Dr. Fleming’s background and qualifications are set forth in Dr.
28 Fleming’s expert report which was provided to the Court for consideration as part of the
   motions to disqualify, and is maintained under seal on the docket. (Doc. No. 942-2.)
                                                 4                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11824 Page 5 of 20



 1 II.     LEGAL STANDARD
 2         Courts have inherent power to disqualify an expert witness to protect the integrity
 3 of the adversary process, protect privileges that otherwise may be breached, and promote
 4 public confidence in the legal system. See Campbell Indus. v. M/V Gemini, 619 F.2d 24,
 5 27 (9th Cir. 1980). Disqualification, however, is a drastic measure that should be rarely
 6 employed after evaluating several considerations. Hewlett Packard Co. v. EMC Corp.,
 7 330 F. Supp. 2d 1087, 1092 (N.D. Cal. 2004). While courts have not established a bright-
 8 line rule to determine whether an expert should be disqualified, general principles
 9 provide guidance in making such a determination. Id. In determining whether
10 disqualification is warranted, courts also balance competing policy objectives as well as
11 fairness and potential prejudice to each party in the litigation. Id. at 1093.
12 III.    DISCUSSION
13         A.     Timeliness of Motions to Disqualify
14         Plaintiffs argue that Defendants’ motions to disqualify are untimely and that
15 Defendants waived any objection to Dr. Fleming by not immediately moving to disqual-
16 ify him after receipt of his designation as an expert for Plaintiffs. (Doc. No. 937, p. 20-
17 22.) Having already considered the parties’ arguments on this point, at the hearing on this
18 matter the Court ruled Defendants’ motions were timely. Accordingly, as set forth more
19 fully on the record, Defendants’ motions are timely and Defendants’ arguments regarding
20 disqualification have not been waived. (See Doc. No. 1000, p. 5:6-14.)
21         B.     Disqualification Based on a Prior Relationship
22         Novo moves independently to disqualify Dr. Fleming based on his prior consulting
23 relationship with Novo. When disqualification of an expert is sought based on a prior
24 relationship with an adversary, courts employ a two-pronged inquiry. Hewlett Packard
25 Co., 330 F. Supp. 2d at 1093. Disqualification is generally warranted if (1) the adversary
26 had a confidential relationship with the expert and (2) the adversary disclosed confiden-
27 tial information to the expert that is relevant to the current litigation. Id. The party
28 seeking disqualification bears the burden of establishing that both elements of the

                                                   5                                 13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11825 Page 6 of 20



 1 disqualification test have been established. Stencel v. Fairchild Corp., 174 F. Supp. 2d
 2 1080, 1083 (C.D. Cal. 2001); Hewlett Packard Co., 330 F. Supp. 2d at 1093 (“[I]f only
 3 one of the two factors is present, disqualification likely is inappropriate.”). In addition to
 4 these two factors, courts also consider whether disqualification would be fair to the
 5 affected party and would promote the integrity of the legal process. Hewlett Packard Co.,
 6 330 F. Supp. 2d at 1093.
 7                1.    Whether Novo Had a Confidential Relationship With Dr. Fleming
 8         The party seeking disqualification of an expert witness must demonstrate that it
 9 was objectively reasonable for it to believe a confidential relationship existed with the
10 expert. Id. at 1093; Stencel, 174 F. Supp. 2d at 1083. The existence or absence of a
11 contract between the parties is not determinative. Stencel, 174 F. Supp. 2d at 1083. In
12 evaluating the reasonableness of a party’s assumption, courts consider several factors
13 including:
14         whether the relationship was one of long standing and involved frequent
15         contacts instead of a single interaction with the expert, whether the expert is
           to be called as a witness in the underlying case, whether alleged confidential
16         communications were from expert to party or vice-versa, and whether the
17         moving party funded or directed the formation of the opinion to be offered at
18         trial.

19
           Id. Additionally, other factors that may weigh either for or against disqualification
20
     include:
21
           whether the parties entered into a formal confidentiality agreement, whether
22         the expert was retained to assist in the litigation, the number of meetings
23         between the expert and the attorneys, whether work product was discussed
24         or documents were provided to the expert, whether the expert was paid a fee,
           whether the expert was asked to agree not to discuss the case with the
25         opposing parties or counsel, and whether the expert derived any of his
26         specific ideas from work done under the direction of the retaining party.
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                                                  6                                 13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11826 Page 7 of 20



 1         Hewlett-Packard, 330 F. Supp. 2d at 1093. The emphasis in evaluating whether a
 2 confidential relationship existed “is not on whether the expert was retained per se but
 3 whether there was a relationship that would permit the litigant reasonably to expect that
 4 any communications would be maintained in confidence.” Twin City Fire Ins. Co. v.
 5 Mitsubishi Motors Credit of Am., Inc., No.040043, 2006 WL 5164249, at *3 (C.D. Cal.
 6 Nov. 6, 2006).
 7         Upon consideration of the above factors and the facts as presented by the parties’
 8 briefing and oral argument, the Court finds it was reasonable for Novo to believe its
 9 relationship with Dr. Fleming was confidential. Dr. Fleming had a longstanding consult-
10 ing relationship with Novo which lasted nearly a decade and involved multiple confiden-
11 tiality agreements. (See Doc. No. 902-1, Ex. 2-8.) Plaintiffs do not challenge the exis-
12 tence of the agreements, or the length of Dr. Fleming’s relationship with Novo. Instead,
13 Plaintiffs argue the confidentiality agreements alone are insufficient to demonstrate an
14 objectively reasonable expectation of confidentiality. (Doc. No. 937, p. 9.) Additionally,
15 as raised at oral argument, Plaintiffs argue that each of the confidentiality agreements
16 “sunset” or end after a period of years thereby releasing Dr. Fleming from a duty of
17 confidentiality.6 (Doc. No. 1000, p. 30–33.) Plaintiffs also argue that the factors consid-
18 ered for this prong of the disqualification analysis relate to litigation, and that disqualifi-
19 cation is generally only warranted when the expert was consulted for litigation- related
20 purposes. (Doc. No. 937, p. 9.)
21         Although a presumption of a confidential relationship may not have attached to the
22 relationship between Novo and Dr. Fleming, several considerations support the conclu-
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           6
            The “sunset” argument was first raised at oral argument and addressed by counsel
24 for both Plaintiffs and Novo. (Doc. No. 1000, p. 30-33.) However, the term of
   confidentiality imposed by each agreement is not dispositive to the Court’s analysis as
25 the relevant inquiry is whether at the time of the disclosure, it was objectively reasonable
   for Novo to anticipate that its relationship with Dr. Fleming was confidential. See Life
26 Tech. Corp. v. Biosearch Technologies, Inc., No.C-12-00852, 2012 WL 1604710, at *6,
   n.2 (N.D. Cal. May 7, 2012) (“The one-year lapse in time here, however, is not relevant
27 in determining whether Life Tech was reasonable in believing it had a confidential
   relationship with [the expert] at the time he was consulting for Life Tech.”). Further, as
28 set forth above, the existence of confidentiality agreements does not end the inquiry for
   this element, and the Court’s conclusion does not rest on this fact alone.
                                                   7                                 13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11827 Page 8 of 20



 1 sion it was objectively reasonable for Novo to believe it had a confidential relationship
 2 with Dr. Fleming. Not only did Novo require Dr. Fleming to enter into confidentiality
 3 agreements throughout the course of his consulting work, Dr. Fleming worked with Novo
 4 over a prolonged period of time and regarding a variety of information. While the amount
 5 of information Novo provided to Dr. Fleming to facilitate his consulting work is of
 6 dispute,7 it is unlikely that “so little of substance ocurr[ed] during the course of the
 7 relationship” such that an expectation of confidentiality between Novo and Dr. Fleming
 8 did not attach. Hewlett-Packard Co., 330 F. Supp. 2d at 1094 (quoting Paul By &
 9 Through Paul v. Rawlings Sporting Goods Co., 123 F.R.D. 271, 278 (S.D. Ohio 1988)
10 (“[T]here may be situations where, despite the existence of a formal contractual relation-
11 ship, so little of substance occurs during the course of the relationship that neither the
12 integrity of the trial process, nor the interests of the party who retained the expert, would
13 be served by blanket disqualification.”).
14         The breadth of Dr. Fleming’s consulting work, the duration of the relationship, and
15 the existence of seven consulting agreements designed to establish a confidential
16 consulting relationship warrant finding this prong of the disqualification inquiry satisfied.
17 See Oracle Corp. v. Drug Logic, Inc., No. C-11-00910, 2012 WL 2244305, at *6 (N.D.
18 Cal. June 15, 2012) (“Here, Dr. Nelson had a consulting relationship with Relsys that
19 spanned many years and in the course of that relationship signed two confidentiality
20 agreements, as well as the Settlement Agreement containing a confidentiality provision.
21 Therefore, Oracle has satisfied the first part of the test.”); Cf., Ziptronix, Inc. v.
22 Omnivision Tech., Inc., No. C-10-05525, 2013 WL 146413, at *2 (N.D. Cal. Jan. 14,
23 2013) (no finding of a confidential relationship despite non-disclosure agreement because
24 “after signing the NDA, Plaintiff never gave [the expert] any confidential information,
25 never gave [the expert] any consulting work, and did not tell [the expert] what patents
26
27         7
          Plaintiffs argue that the majority of information exchanged between Novo and Dr.
   Fleming involved Dr. Fleming and other advisors providing confidential information to
28 Novo. (Doc. No. 937, p. 10.) The Court finds it unlikely that Dr. Fleming was able to
   form opinions and provide drug-specific analyses without information from Novo.
                                                    8                                 13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11828 Page 9 of 20



 1 were at issue”). Further, not all of the factors that courts consider relate directly to
 2 litigation strategy, and the Court is convinced the facts of this case warrant a finding of a
 3 confidential relationship even absent discussion of litigation between Novo and Dr.
 4 Fleming. Accordingly, Novo has met its burden as to the first prong of the disqualifica-
 5 tion analysis.
 6                2.    Whether Novo Disclosed Confidential Information Relevant to The
 7                      Litigation
 8         The second consideration in whether to disqualify an expert due to a prior
 9 relationship is whether confidential information relevant to the litigation was disclosed to
10 the expert during the confidential relationship. Hewlett-Packard Co., 330 F. Supp. 2d at
11 1093. Confidential information is information which is “of either particular significance
12 or [that] which can be readily identified as either attorney work product or within the
13 scope of the attorney-client privilege.” Id.; Paul By & Through Paul, 123 F.R.D. at 279.
14 “Unlike attorney-client communications, discussions between parties or counsel and
15 experts do not carry the presumption that confidential information was exchanged.”
16 Stencel, 174 F. Supp. 2d at 1083. The party seeking to disqualify an expert must point to
17 specific and unambiguous disclosures that if revealed would prejudice the party. Hewlett-
18 Packard Co., 330 F. Supp. 2d at 1094; Life Technologies Corp., 2012 WL 1604710, at
19 *7. Confidential information can also include discussion of the party’s “strategy in the
20 litigation, the kinds of experts [the party] expected to retain, [the party’s] view of the
21 strengths and weaknesses of each side, the role of each of the [party’s] experts to be hired
22 and anticipated defenses.” Hewlett-Packard Co., 330 F. Supp. 2d at 1094.
23         Novo argues that the documents Dr. Fleming relied on in forming his expert report
24 relate to the topics Dr. Fleming had confidential communications with Novo about, or
25 otherwise stemmed from information obtained during his consulting relationship with
26 Novo. (Doc. No. 925, p. 19.) Plaintiffs argue that the information obtained by Dr.
27 Fleming was purely technical, unrelated to the instant litigation, and did not involve
28 information that constitutes attorney work product or that is subject to attorney-client

                                                   9                                 13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11829 Page 10 of 20



 1 privilege. (Doc. No. 937, p. 14-16.) Plaintiffs contend that since Dr. Fleming’s consulting
 2 was unrelated to litigation, he was not privy to litigation strategy, never spoke with any
 3 attorneys and was not paid to form any opinions,8 the information is not confidential. (Id.
 4 at 16-17.)
 5         While at least one court has concluded that “[c]ommunication based upon technical
 6 information as opposed to legal advice is not considered privileged,” Nikkal Indus., Ltd.
 7 v. Salton, Inc., 689 F. Supp. 187, 191–92 (S.D.N.Y.1988), other courts have looked at
 8 whether the technical information underlying the consulting relationship is the same
 9 information at issue in the litigation. See e.g. Pellerin v. Honeywell Int’l Inc., No.
10 11CV1278, 2012 WL 112539, at *3 n.1 (S.D. Cal. Jan. 12, 2012) (finding information
11 relevant to the litigation where “the technical information is confidential, propriety
12 information obtained in the course of employment for the disclosing party, subject to a
13 non-disclosure agreement”); Oracle Corp., 2012 WL 2244305, at *7 (“[T]he record as a
14 whole supports Oracle’s contention that Dr. Nelson had access to confidential informa-
15 tion about the accused technology—at least as to the accused Relsys products—and even
16 played a role in developing it.”); Cf. Novartis AG v. Apotex Inc., No. 09-5614, 2011 WL
17 691594 (D.N.J. Jan. 24, 2011)9 (“Moreover, Apotex has not demonstrated how Dr.
18 Klibanov’s general knowledge of Apotex’s regulatory practices relates to the technology
19 at issue in this case.”).
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           8
            Plaintiffs also argue that during the last five years of his consulting relationship
22 with Novo, Dr. Fleming received a yearly payment of “at most $6,000 plus expenses.”
   (Doc. No. 937, p. 6.) Although this is a factor court’s consider in whether a party had a
23 reasonable expectation of a confidential relationship, the appropriate inquiry is whether
   the substance of interactions between an expert and the adversary was such that an
24 expectation of confidentiality attached. See Life Tech. Corp., 2012 WL 1604710, at *6.
   Thus, while the Court notes that Dr. Fleming may have received a fairly modest payment
25 for his work during the last five years of his consulting relationship, this fact does not
   significantly weigh against a finding that Novo was reasonable in expecting its
26 relationship with Dr. Fleming was confidential or that confidential information relevant
   to the litigation was disclosed to Dr. Fleming.
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            Report and recommendation adopted, No. CIV.A. 09-c-5614, 2011 WL 611706
28 (D.N.J. Feb. 8, 2011).

                                                  10                               13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11830 Page 11 of 20



 1         Although Dr. Fleming’s consulting relationship may have predated the instant
 2 litigation, several considerations weigh against the arguments asserted by Plaintiffs.
 3 Perhaps the most compelling is that Dr. Fleming’s work with Novo related to Victoza.
 4 Specifically, Dr. Fleming had access to clinical data, research, and regulatory submis-
 5 sions such as the NDA, and IND applications for Victoza, all of which could be of
 6 “particular significance” to this litigation. Hewlett-Packard Co., 330 F. Supp. 2d at 1094
 7 (quoting Paul By & Through Paul, 123 F.R.D. at 279). Thus, not only did Dr. Fleming’s
 8 work involve the same drug at issue in this litigation, he consulted on issues relevant to
 9 Plaintiffs’ claims such as Victoza clinical data.
10         Plaintiffs highlight the lapse of time between Dr. Fleming’s consulting work and
11 the underlying litigation to argue any information Dr. Fleming obtained related to
12 Victoza is now outdated or irrelevant. (Doc. No. 937, p. 17.) Plaintiffs cite to Lyman v.
13 Pfizer to support their argument that any information Dr. Fleming received is out of date
14 as related to the current litigation. In Lyman, the court relied on a four-year gap between
15 the time the expert had worked for the defendants and the litigation at issue as a factor
16 weighing against disqualification. Lyman v. Pfizer, Inc., No. 2:09-cv-262, 2011 WL
17 3843956, at *4 (D. Vt. Aug. 30, 2011). Lyman is distinguishable from the instant matter
18 because although Dr. Fleming’s work with Novo began in 1999, Plaintiffs have sought
19 and received discovery from Novo dating back to as early as 2002. (See Doc. No. 1000,
20 p. 9:5-23.) As Novo notes, Plaintiffs should not be allowed to argue the temporal gap
21 between this litigation and Dr. Fleming’s work with Novo makes information obtained by
22 Dr. Fleming currently irrelevant or outdated. Further, even if the particular data regarding
23 Victoza that Dr. Fleming was privy to is now outdated, Novo’s internal practices,
24 policies, and strategies remain valuable information unobtainable by other experts.
25 Plaintiffs also argue that information regarding regulatory strategy does not qualify as
26 confidential information and cite to Novartis AG v. Apotex Inc., in support of this
27 proposition. (Doc. No. 937, p. 13.) While general regulatory strategy may be insufficient
28

                                                 11                               13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11831 Page 12 of 20



 1 to meet this prong of the disqualification analysis, Dr. Fleming was privy to regulatory
 2 strategy specific to Victoza.
 3         Plaintiffs next argue that the information obtained by Dr. Fleming is not confiden-
 4 tial because all of the information is either publicly available through the FDA’s Septem-
 5 ber 11, 2014, briefing document regarding liraglutide (Victoza), or through discovery.
 6 (Id. at 16.) Some courts consider whether the confidential information that is disclosed to
 7 the expert is nevertheless discoverable by the opposing party as weighing against
 8 disqualification. See Twin City Fire Ins. Co., 2006 WL 5164249, at *4 (“Only the
 9 disclosure of confidential information that the opposing party would be unable to obtain
10 through discovery should form a basis for disqualification of an expert witness.”). Novo
11 does not concede that all of the information Dr. Fleming obtained is discoverable.
12 Instead, Novo argues it would be impossible for Dr. Fleming to differentiate between
13 information he obtained through his confidential consulting relationship with information
14 otherwise obtained through discovery or outside sources. (Doc. No. 937, p. 8.) Novo
15 notes that Dr. Fleming not only had access to Novo documents and materials, but also has
16 mental impressions from interactions with Novo executives, as well as his recollection of
17 private conversations and discussions that are inherently part of his conscious knowledge
18 regarding Victoza. (Doc. No. 949, p. 8.)
19         The Court finds Novo’s argument persuasive. Not only was Dr. Fleming given
20 material relevant to Victoza which Novo intended to remain confidential, he was also
21 present at a variety of meetings, presentations, and other events wherein confidential
22 material was shared. Dr. Fleming’s presence and role as a consultant for Novo placed him
23 in a position that an unrelated preemption expert would not share. Dr. Fleming was
24 subject to information regarding internal practices, clinical data, and regulatory submis-
25 sions, all of which are topics discussed by Dr. Fleming in his expert report. While some
26 of Dr. Fleming’s report includes information obtained through Dr. Fleming’s work with
27 the FDA, much of the report overlaps significantly with information related to Victoza.
28 Only some of the information obtained by Dr. Fleming would be exchanged through the

                                                12                               13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11832 Page 13 of 20



 1 course of discovery and available to any expert. Dr. Fleming’s mental impressions, the
 2 mental impressions of others who worked for Novo, either as internal players or other
 3 consultants, as well as strategy discussions are incapable of memorialization via meeting
 4 minutes or summaries of events and would not be discoverable information.
 5         Moreover, it is unlikely that the information Dr. Fleming obtained through his
 6 consulting work can be maintained in confidence given that it overlaps significantly with
 7 the information at issue in this litigation. See Isis Pharm., Inc. v. Santaris Pharma A/S
 8 Corp., No. 11CV2214, 2013 WL 3367575, at *5 (S.D. Cal. July 5, 2013) (“[T]he risk of
 9 inadvertent disclosure does not arise solely from an information recipient’s level of
10 influence within an entity, but rather, from being in a position where the subtle percola-
11 tion of the confidential information can tangibly and unavoidably alter the recipient’s
12 actions.”) (internal citations omitted); Pellerin, 2012 WL 112539, at *3 (“There is a
13 substantial risk [the expert] may inadvertently use confidential information he is contrac-
14 tually barred from disclosing to Pellerin in his role as expert . . . the human brain does not
15 compartmentalize information in that manner.”). For these reasons, Dr. Fleming’s
16 declaration in opposition to disqualification is less persuasive.10
17         Plaintiffs’ final argument that Novo cannot point to specific and unambiguous
18 disclosures to Dr. Fleming that would be prejudicial if disclosed is initially compelling.
19 As part of its burden in seeking disqualification, Novo must identify specific information
20 and disclosures to Dr. Fleming. This, however, presupposes that Dr. Fleming’s role, and
21 the information he received can be entirely documented by meeting minutes, agendas,
22 and other discoverable information. The scope of Dr. Fleming’s involvement, as evi-
23
24         10
            Dr. Fleming’s declaration states that he cannot think of how information
25 obtained in connection with his consulting work for Novo would be useful in the context
   of his expert report. (Doc. No. 937-1, p. 2.) However, because Dr. Fleming’s consulting
26 work related to Victoza, a concern is that Dr. Fleming would be unable to distinguish
   between information obtained while working for Novo from the information obtained in
27 the course of discovery. This is particularly true with respect to information incapable of
   complete representation in discoverable documents such as mental impressions and
28 conversations between Dr. Fleming, other experts, and Novo executives.

                                                 13                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11833 Page 14 of 20



 1 denced from the consulting agreements and the key meetings listed by Novo, even if
 2 qualified by Plaintiffs’ representations, demonstrates Dr. Fleming’s role as a key player
 3 in key moments of Victoza’s development and regulatory approval process.
 4         Thus, the Court finds that Novo disclosed confidential information relevant to the
 5 litigation to Dr. Fleming and disqualification is warranted. However, the Court is mindful
 6 of policy considerations that weigh for and against disqualification and aid the Court in
 7 fashioning an appropriate outcome.
 8               3.     Fairness and Policy Considerations
 9         In considering disqualification, courts also consider fairness, and whether any
10 prejudice might occur if an expert is or is not disqualified. Hewlett-Packard Co., 330 F.
11 Supp. 2d at 1095; Stencel, 174 F. Supp. 2d at 1083. Additional policy considerations
12 include allowing experts to pursue their trade and permitting parties to select their own
13 experts. If experts are permitted to breach confidentiality agreements, they might be
14 motivated “to sell their opinions to the opposing parties or the highest bidder without
15 concern about the potential confidentiality of their previous consultations.” Hewlett-
16 Packard Co., 330 F. Supp. 2d at 1095 (internal citations omitted). Similarly, a retaining
17 party might be motivated “not to withdraw a previously designated expert while litigation
18 is pending for fear that the party’s confidential information would become available to its
19 adversary.” Id. However, “if experts are too easily disqualified, unscrupulous attorneys
20 may attempt to create relationships with numerous potential experts at a nominal fee
21 hoping to preempt the ability of their adversaries to obtain expert assistance.” Id.
22         Both parties invoke these policy considerations in support and opposition of
23 disqualification. Plaintiffs have recognized that other potential experts could be retained
24 in place of Dr. Fleming, particularly with respect to future designations of experts on
25 general and specific causation, as well as endocrinology. (Doc. No. 1000, p. 22:7-17.)
26 Plaintiffs have also argued, however, that a grant of disqualification could lead to
27 widespread disqualification based on any type of prior relationship. (Doc. No. 937, p. 25;
28

                                                 14                               13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11834 Page 15 of 20



 1 Doc. No. 1000, p. 20:10-18.) The Court is unconvinced that disqualification in this case
 2 would support disqualification based on a singular interaction between an expert and an
 3 adversary, thereby allowing parties to preempt use of an expert by an opponent. To the
 4 contrary, when experts enter into consulting agreements governed by confidentiality
 5 provisions, policy considerations support upholding the agreements, particularly in
 6 instances where the consulting relationship substantially overlaps the expert opinion later
 7 offered against that party. While court’s should take into consideration an expert’s ability
 8 to pursue his trade, particularly in a narrow or specialized field, disqualification does not
 9 prevent Dr. Fleming from working as an expert. It is Dr. Fleming’s affiliation to Victoza
10 in differing capacities—as confidential advisor to Novo and as expert to Plaintiffs—that
11 the Court finds problematic. See Rupp v. United States, No. 06cv0515, 2008 WL
12 4279408, at *4 (S.D. Cal Sept. 16, 2008)11 (noting that an expert could be given an unfair
13 advantage to the plaintiff’s disadvantage if he were able to present himself at trial as one
14 of the plaintiff’s physicians and as the defendant’s expert). Thus, the fairness and policy
15 considerations support disqualification based on Dr. Fleming’s prior relationship. Before
16 addressing the appropriate remedy, the Court will consider the alternate grounds asserted
17 for disqualification.
18 C.      Disqualification Based on Violation of the Protective Order
19         As an independent basis for disqualification, all Defendants argue that Plaintiffs
20 violated the protective order by not providing notice to Defendants prior to the disclosure
21 of confidential information to Dr. Fleming. (Doc. No. 925, p. 23-25; Doc. No. 908-1.)
22 According to Defendants, Dr. Fleming constitutes a “competitor” within the terms of the
23 protective order and Plaintiffs were required to notify Defendants fourteen (14) days prior
24 to the disclosure of confidential information. (Doc. No. 908-1, p. 3; Doc. No. 925, p. 24.)
25 The protective order provides:
26
           11
27          Affirmed in part, and vacated as to additional considerations placed on the
   expert’s work as an expert witness by Rupp v. U.S., (2008) WL 6638217 (S.D. Cal. Nov.
28 26, 2008).

                                                 15                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11835 Page 16 of 20



 1         Before disclosing confidential discovery materials to any person listed in
 2         5(a)(1) or 5(a)(6)-(8) who is a customer or competitor (or an employee of
           either) of the producing party or the person or entity on whose behalf the
 3         producing party designated the materials as “Confidential,” the party wish-
 4         ing to make such disclosures shall give at least fourteen (14) days advance
 5         notice in writing to the counsel who designated such information as confi-
           dential stating that such disclosure will be made and identifying with partic-
 6         ularity the Confidential Discovery Materials to be disclosed and stating the
 7         purpose for disclosure. (Doc. No. 564, p. 9.)
 8
 9         The protective order defines a “competitor” as “any manufacturer or seller of

10 prescription medications other than producing party, including without limit other
11 defendants.” (Id.)
12         Defendants argue that Dr. Fleming is a “competitor” as defined by the protective

13 order because he is the Co-Founder, Chairman, and Chief Medical Officer of Exsulin.
14 (Doc. No. 925, p. 24-25; Doc. No. 908-1, p. 3-4.) Defendants contend that the word
15 “manufacturer” as traditionally defined and understood, encompasses Exsulin and Dr.
16 Fleming, particularly as Exsulin is developing a drug similar to the drugs manufactured
17 by Defendants.
18      Plaintiffs argue that Dr. Fleming is not a competitor because he is not employed by

19 a manufacturer or seller of prescription medication. (Doc. No. 937, p. 18.) Plaintiffs
20 contend that Exsulin does not manufacture or sell prescription medications, and instead
                                                  12
21 Exsulin is a “drug development” company. (Id.) Plaintiffs also argue that if Defendants
22 intended the protective order to include companies such as Exsulin, Defendants could
23 have accounted for that in creating the protective order adopted in this matter. (Id. at 19.)
24 Finally, Plaintiffs contend that the protective order is not ambiguous, but to the extent
25 that it is, the term manufacturer should be interpreted in light of federal law as embodied
26 in the FDCA. (Id.)
27         12
          Dr. Fleming’s declaration also states that Exsulin does not manufacture or sell
28 any FDA-approved prescription medication. (Doc. No. 937-1, p. 5.)

                                                 16                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11836 Page 17 of 20



 1         A protective order should be read in a reasonable and common sense manner so
 2 that its prohibitions are connected to its purpose. In re Dual Deck Video Cassette
 3 Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993); Great W. Life & Annuity Ins.
 4 Co. v. Am. Econ. Ins. Co., No. 2:11CV02082, 2013 WL 5332410, at *5 (D. Nev. Sept.
 5 23, 2013) (“[A] protective order based on a written agreement between the parties is
 6 subject to the rules of contractual interpretation, including that the agreement should be
 7 enforced in accordance with the ordinary meaning of the language used in the agree-
 8 ment.”). The parties do not dispute that information properly designated as confidential
 9 by each Defendant was exchanged through the course of discovery and given to Dr.
10 Fleming by Plaintiffs. Plaintiffs acknowledge that Dr. Fleming signed the endorsement of
11 the protective order as required by third parties receiving confidential materials. (Doc.
12 No. 937, p. 6.)13 The issue, therefore, is not whether the information was properly
13 designated as confidential, but whether Dr. Fleming is a competitor as defined by the
14 protective order.
15         The plain language of the protective order supports the conclusion that Dr. Fleming
16 is a competitor. Plaintiffs’ argument distinguishing between a manufacturer and a
17 developer presumes a meaningful difference in the context of the protective order. That
18 Exsulin is not currently selling its prescription medication does not exempt the company
19 from the definition of a competitor given the disjunctive definition provided in the
20 protective order. (See Doc. No. 564, p. 9, defining a competitor as “any manufacturer or
21 seller of prescription medications”). Additionally, Exsulin is currently engaged in clinical
22 trials of its peptide-based drug which supports the conclusion that the company has
23 manufactured the drug that is the subject of the trials.
24         Plaintiffs note that Exsulin is not registered as a manufacturer with the FDA, and
25 thus argue that Exsulin does not fall within the terms of the protective order. (Doc. No.
26
           13
27          Additionally, in considering many of the relevant documents attached to the
   instant motions, the Court found good cause to seal the documents to maintain
28 confidentiality. (See Doc. Nos. 924, 941, 955.)

                                                 17                               13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11837 Page 18 of 20



 1 937, p. 7.) However, the protective order does not specify that a “competitor” is a
 2 manufacturer that is registered with the FDA or a manufacturer as defined by the FDA.
 3 Use of the word manufacturer without further modifications (i.e. “manufacturer as
 4 defined by the FDA,” or “manufacturer of FDA approved pharmaceuticals”) suggests that
 5 the parties intended the word to be used as it is ordinarily understood. As such, resort to
 6 extrinsic definitions is unnecessary. See e.g., United States v. McCaleb, 552 F.3d 1053,
 7 1059 (9th Cir. 2009) (concluding district court did not plainly err by using but not
 8 defining the term “manufacture” because “it is a common word which an average juror
 9 can understand and which the average juror could have applied to the facts of [the] case
10 without difficulty”). Under the clear language of the protective order, Exsulin is a
11 competitor because it is engaged in the manufacture of a prescription drug, and the Court
12 is satisfied that Exsulin, and thus by extension Dr. Fleming, is therefore engaged in
13 competitive conduct. Accordingly, Plaintiffs were required to give notice to Defendants
14 prior to the disclosure of confidential discovery materials.
15         Finally, Plaintiffs also argue that any confidential discovery materials given to Dr.
16 Fleming were redacted and did not include information beneficial to a competitor such as
17 trade secrets. (Doc. No. 937, p. 23; Doc. No. 1000, p. 47:3-11.) Similarly, Plaintiffs argue
18 that Defendants cannot establish they were prejudiced in Plaintiffs’ failure to give notice.
19 Defendants have no obligation to make such a showing. Strict compliance with the terms
20 of the protective order is anticipated, and required in cases such as this where multiple
21 market competitors are engaged in litigation. The harm to Defendants occurred when
22 Plaintiffs failed to give notice as contemplated by the protective order. If notice had been
23 given to Defendants, the issue of whether Dr. Fleming was a competitor could have been
24 addressed proactively, thereby preventing improper disclosure. Plaintiffs deprived
25 Defendants of this opportunity by not giving notice, or at the very least, anticipating the
26 competitor argument would be raised given Dr. Fleming’s role at Exsulin and Exsulin’s
27 role in the production, development, and manufacture of its peptide-based drug.
28

                                                 18                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11838 Page 19 of 20



 1         As such, the Court concludes that Plaintiffs violated the protective order by not
 2 providing notice to Defendants prior to the disclosure of confidential discovery materials
 3 to Dr. Fleming.
 4 D.      Appropriate Remedy
 5         Based on both Dr. Fleming’s prior consulting relationship, as well as Plaintiffs
 6 violation of the protective order, disqualification of Dr. Fleming is warranted. At the
 7 hearing on this matter, the parties addressed potential remedies both in relation to Novo’s
 8 separate motion seeking disqualification, and Plaintiffs violation of the protective order.
 9 In formulating the remedy set forth below, the Court is guided by several policy
10 considerations, as well the practical implications of disqualification. The Court has aimed
11 to cure the issues raised by Defendants’ motions while not unreasonably delaying the
12 litigation, prejudicing Plaintiffs, or inhibiting Dr. Fleming’s ability to pursue his
13 profession despite his prior work for Novo.
14         With respect to Novo’s motion, the Court finds disqualification of Dr. Fleming
15 warranted as to information in his report related to his prior consulting relationship. Dr.
16 Fleming’s prior experience and expertise as related to FDA regulatory practices, how-
17 ever, was undoubtedly obtained independent of Dr. Fleming’s consulting work for Novo.
18 Thus, Dr. Fleming is permitted to remain as Plaintiffs’ preemption expert, but his report
19 must be similarly limited. Dr. Fleming is disqualified from serving as an expert for
20 Plaintiffs on issues of general causation, specific causation, and endocrinology. For the
21 purpose of future motions, and other proceedings in this case, the Court will only
22 consider the following portions of Dr. Fleming’s expert report: Sections I (Qualifications
23 and Credentials), II (Introduction), IV (Manufacturer Responsibility for Drug Safety and
24 Adequacy of the Label), V (FDA Approval Process), VII (Label Change by CBE), and
25 VIII (FDA Process Requiring Label Change), XI (Section A regarding FDA Opposition
26 to Pancreatic Cancer Warnings, pages 89-90) and (Section A(2)(a) and (b) regarding
27 Addition of Pancreatic Cancer Warning, pages 101-107).
28 ///

                                                  19                                13md2452 AJB (MDD)
Case 3:13-md-02452-AJB-MDD Document 1020 Filed 04/01/15 PageID.11839 Page 20 of 20



 1         The Court finds the remaining sections of Dr. Fleming’s expert report overlap with
 2 information that Dr. Fleming was privy to while working as a confidential consultant for
 3 Novo, and those sections will not be considered by the Court. To prevent delay or further
 4 dispute as to Dr. Fleming’s report, Plaintiffs are not required to file a separate partial or
 5 redacted version of Dr. Fleming’s report. The Court has tasked itself with parsing the
 6 relevant FDA preemption information from the report as it is currently drafted. This will
 7 prevent Plaintiffs from having to find a new expert regarding FDA regulations, and
 8 permit the parties to immediately move forward to retain further experts as necessary in
 9 relation to the anticipated procedure of this case.
10         With respect to Defendants’ motion to disqualify Dr. Fleming based on the
11 violation of the protective order, the Court finds disqualification is similarly warranted.
12 The protective order authorizes the imposition of sanctions in instances of intentional
13 violation, (Doc. No. 564, p. 16), and Rule 37 grants courts wide discretion in fashioning
14 remedies for violations of discovery orders such as the protective order. See Fed. R. Civ.
15 P. 37(b). Limiting Dr. Fleming’s expert report as set forth above operates to cure
16 violation of the protective order by preventing consideration of Dr. Fleming’s drug-
17 specific opinions derived from the disclosure of confidential materials. By so limiting Dr.
18 Fleming’s expert report, the Court upholds the terms of the protective order and encour-
19 ages strict compliance with court orders in the future.
20 V.      CONCLUSION
21         As set forth more fully above, the Court GRANTS IN PART and DENIES IN
22 PART Defendants’ motions to disqualify Dr. Fleming and strike his expert report. The
23 parties are directed to meet and confer as to a potential time line for preemption-based
24 motions in preparation for the April 2, 2015, telephonic status conference.
25 IT IS SO ORDERED.
26 DATED: April 1, 2015
27
                                                   Hon. Anthony J. Battaglia
28                                                 U.S. District Judge


                                                  20                                13md2452 AJB (MDD)
